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                                                                                                                                                                                        I




        I've   been assigned to perform interviews for an HR matter that includes review                                                                               of    the departmental

        function        in   general              All   information                   provided          is    confidential            and    is
                                                                                                                                                  only    reported to              HR
i
    D
        Lori    Lewis



        What     is
                       your position and what                         are        your daily responsibilitiesduties routine                                             Same each day

        Assigned        by someone


        Transfer        nurse          RN        dept CITC


        Biggest       responsibility is veteran                       in    all       community care community ED or admissions                                                   patient          and

        whether         they qualify             for fee      payment Medicare Medicaid                                     other insurance                    If   fee or        mill      bill    then       will


        follow or turn over to insurance                                   Find       resources              for patient        to get what          they need correlate                            with    rehab

        or social services              or    home health                   Entering          info      so    facility     can        get paid review for medical necessity

        what's     going       on with veteran and what                                resources             will   they need           to follow         up        Role          transfer of patient

        from one        facility       to the         VA facility          for the          care    they need            for example do they need ENT                                       or can       we take

        care    of them        here Watch                    portal        for Tri-West             to       monitor patients                move between                  facilities          or home          and

        get their       needs met and paid for appropriately                                             Mostly determining who                          is   going to pay              bill       Samernost

        days      Hired to          work       non-VA care but opportunity to do transfers                                                  and became              relief    person for the

        transfer        person          Too much work with own duties so decided to do just the transfer when position

        became available


        Do you have            specific          complaints about the department                                         functionality              Please          describe                s there

        anyone         to    back      up these claims ie Witness                                   Complaints             about department                          started        end of May into

        June      Approached             by another              employee Kathy                         Salazar          from another              department as to whether                              she

        could    sit    by her         Sat by         this    person         before          and hadn't             had any problems                 before Wrote                   note           to state

        this    Note went to employee                          who asked                her for         it     Enjoyed      sitting         by    her worked               well         Personally had

        no     problems            But   in     June         Lori's    boss Ruth               Duda stood outside her cubicle                                  where         it   could            have been

        overheard            by others          and told        her that              she was not smart enough to continue                                     working             in   the        department

        and that she should                   start      looking       for another                 job given         the    way the department                        is    moving                 Lori's


        perception           was that she was too stupid                               to    do herjob              Felt   like       she    was being nit-picked                       and being more

        closely    watched              Stressed           about       this       affecting         her       work       and health           now on heartburn                      meds nauseated
        anxiety       meds now               little     sleep because                 feels    worried about what she might have                                       made a mistake                    on
        Feels    like   her        annual review was unfair and wrong                                          Her load          is
                                                                                                                                      running 17 9 compared                        to       other

        employees            on    a   regular        basis      Work            is
                                                                                      assigned          by alpha numeric for names                              Not offered                 overtime            pay

        but felt      like    she      needed         to   do the overtime to keep from getting fired                                              Stress is causing                    her to       make

        more mistakes                  Boss now            refuses to             meet       with       her to discuss



        0700-1530             called     in      sick    one time for diarrhea                          and came           in   next       day was chastised that she shouldn't

        have missed            a   day Dawn Campbell was nasty and                                            hateful      to    her        Told   her that          she had no respect to

        Dawn          Tone very nasty                   Noticed        that           her   hours were changed                        to   0800-1630 for some reason

        permanent            change           got     an   email the             day she was                 sick   so   found out when she came back                                       Works        thru

        lunch    and only goes to bathroom                                 for    breaks           Is   getting      higher and higher workload                              not goofing                 off    but


        feels   like    is   overworked               compared to others


        Has gone        outside         of her
                                               way to avoid                       making either one                      Ruth     or    Dawn angry or upset                       for any           reason

        For example               she drove           back     from Columbia                   MO during a blizzard just so she wouldn't                                           miss another                 day



                                                                                                                                                                       EXHIBIT


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See above            Feels             others are                       on the                      of her   and                        others   now
                                like                 getting       in                belittling                         maybe even


Do you have any ethical                      or safety    concerns


Yes worried about                 her identity       being out there                worried about her name being slandered


Most    of the troubling discussions                     occur    with Ruth          by her cubicle talking with her


Worried about someone from National coming to talk with                                              her but unaware            of   reasons for this Ruth

has   told her that          this      is
                                            happening and Ruth           states       she has to find         a    way    to protect    her     Now her work
performance           has declined            even   more Anxiety              is                 worse by the day             Afraid   to   come back from
                                                                                    getting

vacation       and    not    know what changes                   have been          made that she          isn't    aware of


If
     you could       make recommendations to make your work environment                                                   beitter    what would it     be
To leave the department                         Doesn't feel             she                             shake          the                    Has multiple
                                                                  like         will    get    a   fair             in         department
pages    of    documentation                 of issue    tries   to   do the best she             can    and feels greater          anxiety    each day     as to

what    will    she mess up today


Do you feel you have                    a   cohesive team at this facility                   What would you recommend to make                          it   better


No not a team at all                    Takes    people who want to be a                  teamsome only help certain                     people    MSA         Does

not                  she                          by anyone and that she will not win
      feel    like         is   supported                                                                    in    this   battle
